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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MAINE

UNITED STATES OF AMERICA              )
                                      )
             v.                       )   2:21-cr-00150-JAW
                                      )
JEFFREY RICHARD                       )

                            SPEEDY TRIAL ORDER

      This matter comes before the court upon the Defendant’s Unopposed Motion
to Continue Trial, Speedy Trial Waiver, and Incorporated Memorandum (Docket
entry 29).


1.    Counsel represents Jeffrey Richard is facing a multi-count indictment
      charging tax evasion and failure to pay employment tax. (ECF # 1). Mr.
      Richard is on bond and working. (ECF # 15). The case is currently on the
      September 6, 2022 trial list. ECF# 28.


2.    Counsel for the defense and government have met and are working on a case
      resolution that will not require a trial. A combination of factors support a
      request for a continuance. On May 9, 2022, the Court granted a motion seeking
      permission to prepay financial obligations. ECF # 23. The Defendant has made
      payments of about $18,500 towards his tax obligation since the granting of the
      order. The Defendant has a major contract underway and completion of the
      contracted work will permit the defendant to continue paying his tax
      obligations. The parties are discussing a case resolution which incorporates
      addressing a portion of the owed taxes. Time is needed to allow the defendant
      to address the tax obligation, counsel to continue discussions of the extent of
      the back tax obligation and the parties to fashion a plea agreement. Defense
      counsel needs additional time to confer with the Government and the
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      defendant as part of the effort to reach a case resolution. The Government has
      no objection to the granting of this motion.


3.    The interests of justice to be served by the requested exclusion of time
      outweigh the interests of the defendant and the public in a speedy trial because
      the defense needs adequate time to review and evaluate the evidence and for
      resolution discussions. The Speedy Trial Act, 18 U.S.C. §3161(h)(7)(A)(B)(ii)
      allows the court to enlarge time periods and exclude from calculation the time
      period involved here as the ends of justice served by this enlargement to allow
      adequate preparation by defense counsel outweigh the best interest of the
      public and the defendant in a speedy trial.


4.    After full consideration of the representations of counsel, and of the record, the
      Court incorporates such representations as findings of fact.         Taking into
      consideration the factors set forth in Title 18, United States Code, Section
      3161(h)(7)(B), the Court can and does find that the ends of justice served by
      such an enlargement of time and continuance of trial outweigh the interests of
      the public and of the Defendant in a speedy trial.


     IT IS HEREBY ORDERED THAT:
     1.     The Motion is hereby GRANTED.
     2.     The trial is continued to the November 7, 2022 trial list.
     2.     The time period from September 6, 2022 through November 7, 2022 is
            hereby excluded from calculation under the Speedy Trial Act, 18 U.S.C.
            ' 3161 et seq.




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      SO ORDERED.


Dated this 1st day of August 2022.
                                     /s/ John A. Woodcock, Jr.
                                     JOHN A. WOODCOCK, JR.
                                     U.S. DISTRICT JUDGE




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